Case No. 1:22-cv-00581-CNS-NRN   Document 72-14   filed 12/23/22   USDC Colorado
                                   pg 1 of 2




                         EXHIBIT N
               TO
     PLAINTIFFS’ RESPONSE TO
     DEFENDANTS’ MOTION FOR
       SUMMARY JUDGMENT
Case No. 1:22-cv-00581-CNS-NRN                Document 72-14          filed 12/23/22       USDC Colorado
                                                pg 2 of 2




       as you noted about the need for logistics and analytics, the core team has been working on
 exactly this. The analytics team is creating county level reports to help focus canvassing efforts while the
 remaining core team is putting together comprehensive training guides and instruction manuals to bring
 consistency to our canvassing efforts. It’s a pretty big effort, but we are getting there.




 11:39am



 I am confused. On April 17th in Longmont we were told they had targeted 1000 voters for us to
 investigate. There was a sense of urgency. Those of us who provided email addresses awaited further
 instructions. On May 4th we received our first email. Come to the training in May 8th, exactly 3 weeks




 later. It turns out the voters they had targeted were people living in Weld County with 5 or more people
 in the household.

 Ashe



 Ashe

 11:58am



       USEIP didn’t do an event in Longmont that I am aware of? I could be mistaken but this might
 have been another group’s training? Who led the training.                any insights?




 12:06pm



 They were there. At the American Legion building. GOP Action event.

 Ashe
